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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Mori Lee, LLC                               )
                                            )
v.                                          )      Case No. 1:19-cv-7555
                                            )
THE PARTNERSHIPS and                        )      Judge: Matthew F. Kennelly
UNINCORPORATED ASSOCIATIONS                 )
IDENTIFIED ON SCHEDULE “A,”                 )      Magistrate: Young B. Kim
                                            )
                                            )


                            SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe        Store ID                  Merchant ID
 70         Wedding Dazzle            AKZAZ8O1R9GGN


dismisses them from the suit without prejudice.

Dated this 25th Day of August 2020.         Respectfully submitted,


                                            By:      s/David Gulbransen/
                                                   David Gulbransen
                                                   Attorney of Record
                                                   Counsel for Plaintiff

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